Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 1 of 41




         EXHIBIT 12
AGENDA
           Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 2 of 41




§ ATTRACTIVE MEXICAN REAL ESTATE MARKET

§ GENERATING SUSTAINABLE SHAREHOLDER VALUE

§ THE MITIKAH PROJECT

§ FINANCIAL PROFILE
                                                   FUNO DAY 2016
                                                   NOVEMBER 10 | NYC
§ FURTHER GROWTH

§ CEO REMARKS




                                          1
AGENDA
         Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 3 of 41




                      § VERY ATTRACTIVE MEXICAN REAL ESTATE

                      § GENERATING SUSTAINABLE SHAREHOLDER VALUE

                      § THE MITIKAH PROJECT

                      § FINANCIAL PROFILE

                      § FURTHER GROWTH

                      § CEO REMARKS



                                        2
Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 4 of 41




      VERY ATTRACTIVE MEXICAN REAL ESTATE
                                                                   B Y J OR GE P IGE ON




                               3
                Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 5 of 41
   MEXICO REAL ESTATE CASE
Attractive Real Estate

 A. Rent prices still attractive in our three segments
     i. Replacement cost has gone up
     ii. Expect growth from current rent levels

 B. Mexico has few cities with high growth rates
     i. Land becoming increasingly scarce in those cities

 C. Underpenetration in all Commercial Real Estate segments

 D. Macro stability and structural reforms

 E. Demographic bonus and emerging middle class


         Real estate in Mexico is in an earlier stage than the U.S.,
       above factors lead to SIGNIFICANT real estate appreciation
                                               4
   Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 6 of 41




GENERATING SUSTAINABLE SHAREHOLDER VALUE




                                  5
            Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 7 of 41
    UNDERSTANDING FUNO’S BUSINESS MODEL



“OUR GOAL IS TO GENERATE THE MAXIMUM AMOUNT OF VALUE OVER TIME”


                                         Conservative financial strategy

                                                      Diversified portfolio

                                                  High occupancy levels

                                                        Competitive rents

                    Location, location, location and top-quality assets

                                                     Tenant-driven focus

                     Long-term 100% dedicated real estate company


                                           6
               Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 8 of 41
  INVESTMENT DRIVERS



A. Where is the property located?

B. What type of construction is it?

C. Who are the tenants?

D. What are the lease contract’s terms?

E. How’s the market/competition for this asset?

F. What can FUNO do with the property?

G. What rent level can FUNO extract?



    For FUNO, real estate investing means putting capital
      to work with a LONG-TERM investment horizon
                                              7
                                           Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 9 of 41
             ILLUSTRATING FUNO’S APPROACH TO REAL ESTATE INVESTING


                                                      Current
                           Acquisition               Appraisal                 Total Rents Appreciation / Appreciation
Asset                        Price                     Value      Appreciation Received       Rents         + Rents
Reforma 99 (1)                           313.8            668.3               354.5       136.0        2.6x      490.5
Morado                             11,600.0            16,428.6          4,828.6        3,400.1        1.4x    8,228.7
Apolo                              23,155.0            29,560.0          6,405.0        3,539.9        1.8x    9,944.9
                                   35,068.8            46,656.9         11,588.1        7,076.0       1.6x    18,664.1



                Our focus lies on maximizing property appreciation over time while
                     extracting reasonable amount of cash flow along the way




(1) Reforma 99 forms part of the Initial Portfolio
                                                                          8
Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 10 of 41




                                                THE MITIKAH PROJECT
                                                                    B Y G E R A R D O V A R GA S




                               9
        Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 11 of 41
THE MITIKAH PROJECT – MASTER PLAN




                                       10
                            Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 12 of 41
ANALYZING THE MITIKAH INVESTMENT TODAY


                 FUNO will contribute the Colorado and Buffalo Portfolios to the Mitikah Project

                                                                                        Total Amount

                Colorado Portfolio acquisition                                                  1,636
                Buffalo Portfolio acquisition                                                   2,816
                Original Investment                                                             4,452

         Less: NOI generated since acquisitions                                                  697
                FUNO's Net Investment                                                           3,755

                Project Value as contributed to Helios                                          6,000
                Value created to-date                                                           2,173



              Increase in Value of 60% of Net Original Investment


Figures in Ps. $ millions
                                                           11
        Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 13 of 41
THE MITIKAH PROJECT




                                       12
        Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 14 of 41
THE MITIKAH PROJECT




                                       13
        Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 15 of 41
THE MITIKAH PROJECT




                                       14
        Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 16 of 41
THE MITIKAH PROJECT




                                       15
        Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 17 of 41
THE MITIKAH PROJECT




                                       16
        Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 18 of 41
THE MITIKAH PROJECT




                                       17
        Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 19 of 41
THE MITIKAH PROJECT




                                       18
                                                                         Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 20 of 41
                                              THE MITIKAH PROJECT

                                                                                              Key Financial Highlights
                                                                                                                   Exp. Stabilized
                                                                                                          GLA (1)     NOI (3)
                                                                                 Segment / Type            Sqm.      Ps. $ mm
                                                                                 Office                    207,463          1,224
                                                                                 Retail                    129,912             983
                                                                                 Residential                83,739              NA
                                                                                 Total                     421,114          2,207



                                                                                               Total Investment Cost
                                                                                                                     Investment (2)
                                                                                     Category                            Ps. $ mm
                                                                                     Contributed Projects                    6,000
                                                                                     Total construction cost               12,886
                                                                                     Capitalized interest expenses             486
                                                                                     Total investment                      19,372

(1) Gross Leasable Area and sellable area in the case of the Residential condos
(2) Assumes a full cash sweep debt amortization, once the properties are operating
(3) Expected Stabilized NOI in 2025
                                                                                                           19
                                                                         Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 21 of 41
                                              INVESTING IN MITIKAH WITH HELIOS

                                                             Financing Mitikah                                                                                            Total Amount

                                                                   Contributed Projects (Buffalo + Colorado)                                                                              6,000
                                                                   Helios' equity (cash)                                                                                                  3,800
                                                                   Project leverage (1)                                                                                                   6,342
                                                                   Reinvested cash flow                                                                                                   3,641
                                                                   Total Mitikah Investment                                                                                              19,783

                                                                          Capital Structure                                                            Initial Ownership (2)

                                                           Debt                                                                                Helios
                                                          39.3%                                                                                38.8%

                                                                                                                   Equity
                                                                                                                   60.7%
                                                                                                                                                                                           FUNO
                                                                                                                                                                                           61.2%




Figures in Ps. $ millions
(1) Assumes a full cash sweep debt amortization, once the properties are operating, as well as reinvestment of all cash flows generated by the project during the construction period.
(2) Does not take into account capitalized fees. Expected ending FUNO’s stake of 63.6%.
                                                                                                                                20
                                                  Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 22 of 41
                                       THE IMPACT OF FEES ON FUNO

                                       Fee Structure


                                       Fee                        % Fee     Counterparty                     Base
                                       Management Fee             1.25%         Helios                 Total fund size

                                       Development Fee            3.00%         Mitikah              Total project cost
                                       Promote                    20.00%        Helios                10% hurdle rate

                                                 Mitikah's Expected Fee Impact on FUNO (1)
                                                                                                     2,663



                                                         1,015



                                                         Fees                                       Promote

Figures in Ps. $ millions
(1) Assumes investment exit in 2025.
                                                                                 21
                                 Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 23 of 41
         INVESTING IN MITIKAH WITH HELIOS

                               Mitikah Value Creation                          Total Amount

                               FUNO's Net Investment                                        3,755
                                FUNO collected cash flows                                   4,083
                                Project's expected value @ 2025 (1)                        17,550
                                Promote                                                     2,663
                                Debt outstanding @ 2025 (1)                                     0
                                Net Value Creation                                         20,541


   ü           Value creation equivalent to Ps. $ 2,282 mm per year vs a Ps. $ 3,755 mm investment

   ü           Expected value creation 9.4x compared to value created to date on Colorado and Buffalo




        FUNO is focused on delivering long-term sustainable real estate value!!!

Figures in Ps. $ millions
(1) Assumes an 8.0% Cap Rate
                                                                22
Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 24 of 41




                                                         FINANCIAL PROFILE




                               23
                       Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 25 of 41
    FINANCIAL PROFILE
  Short vs Long Term             Secured vs Unsecured                Fixed vs Floating              Ps. $ vs Usd. $

          1.0%                           7.1%
                                                                          23.7%
                                                                                                        48.7%
          99.0%                          92.9%
                                                                          76.3%
                                                                                                        51.3%


          3Q'16                         3Q'16                             3Q'16                         3Q'16

  Long-Term      Short-Term        Unsecured     Secured               Fixed   Floating               Mxp.$     Usd.$


Debt Maturity Profile as of 3Q’16


                                 3Q'13              4Q'14            4Q'15           3Q'16                83.4%
                   Avg. Maturity 3.1 yrs            9.9 yrs          9.2 yrs        11.9 yrs


                                       12.7%
      1.0%               0.4%                              0.4%            2.0%            0.2%

    Short Term          1 year        2 years              3 years        4 years         5 years        6 years +



                      Financial profile designed to mitigate risk
                                                             24
                                                                     Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 26 of 41
                                           CREDIT SNAPSHOT
                           Historic LTV                                                             Debt Service and Interest Coverage Ratios (1)

                           Max LTV:
                           60%
                                                                                                                            3.4x
                                                                                                         3.0x
                                                                                                                                              2.8x
                                                                  32.1%         34.3%                                                                   2.4x
                                                                                                                2.2x                2.2x
                                    25.2%


                                                                                                    Min DSCR:
                                                                                                    1.5x


                                     4Q'14                        4Q'15          3Q'16                      4Q'14              4Q'15              3Q'16

                                                                                                                       Interest Coverage   DSCR


                           Unencumbered Assets to Unsecured Debt                                    Secured Debt to Gross Assets
                                                                                                    Max Sec.
                                      4.7x                                                          Debt: 40%

                                                                  3.2x           2.9x
                                                                                                            9.0%
                                                                                                                                6.8%
                           Min: 1.5x
                                                                                                                                                  2.4%

                                     4Q'14                        4Q'15          3Q'16                      4Q'14               4Q'15                3Q'16
Per Trust Agreement; Indentures relating to FUNO’s Senior Notes
(1)    LTM EBITDA
                                                                                                    25
                                                                        Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 27 of 41
                                             INTEREST EXPENSE & SENSITIVITY ANALYSIS



                                                       Interest Expense                                                            4Q16E(1)
                                                       Debt Int Exp                                                                   992
                                                       Swaps Int Exp (Net)                                                             40
                                                       Total Interest Exp (Net)                                                     1,032



                                                       Interest Rate (+100bps) ∆                                                     34

                                                       FX Rate (+Ps. $1) ∆                                                           26




Figures in Ps. $ millions
(1)   4Q16E shows the accrued interest expense calculation for the quarter using an Fx. of $19.4086 and a TIIE28 of 5.0725%
                                                                                                                              26
                                                                            Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 28 of 41
                                               SENSITIVITY TO FOREIGN EXCHANGE RATE

                                                                            Minimum Dollar revenue to interest expense > 1.5x



                                         ABR Distribution by Currency (1)                                       Usd. ABR Distribution by Segment (1)

                                                                     Ps. $ 11.9 bn                                                              12.1%

                                                                           31.7%

                                                                                                                  52.3%

                                                                          68.3%
                                                                                                                                                   35.7%


                                                                            3Q'16
                                                                       Mxp.$         Usd.$                                Retail   Industrial   Office




                                                                                                                                                           (2)
                                                  Avg. Dollar revenue to interest expense for next 12 months = 1.9x

(1)   As of 3Q’16 Rent Roll
(2)   Includes a full (principal + interest) cross currency Swap for Us.$130 million starting on 4Q’16
                                                                                                           27
Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 29 of 41




                                                         FURTHER GROWTH
                                                                    B Y G ON Z A L O R OB IN A




                               28
                 Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 30 of 41
   NEW DEVELOPMENTS – LA ISLA CANCUN II

   ü CapEx Ps. $2,542                     ü Retail                           üGLA 35,000 sqm
§ FUNO is in the process of contracting a master developer for a shopping center in
   Cancun, Quintana Roo

§ The construction is planned to start early 2017

§ This property is expected to generate Ps. $266 million of NOI

§ FUNO will make payments for this development in a combination of 50% CBFIs and
   50% cash, as construction progresses




                                                29
                            Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 31 of 41
           TURBO

        ü 4Q’16 – 1Q’17           ü Ps. $ 14,300 mm           ü18 Properties        ü NOI Ps. $1,330 mm
§   The Portfolio is comprised of:
      ü 11 stabilized properties with 162,227 sqm of GLA
      ü 2 properties in process of stabilization with 201,670 sqm of GLA
      ü 3 properties under development, which will add 92,467 sqm of GLA
      ü 2 development projects, which will add 50,468 sqm of GLA

§ This acquisition will be financed with 20% debt assumption, 10% cash for development and 70% CBFIs

                          GLA 506,832 sqm                                 NOI Ps. $1,330 mm
                                                                                          Industrial
                                                                                            10%
                                          Industrial
                                            34%
                                                                                                 Office
                                                                                                  8%
                 Retail
                 60%
                                            Office                     Retail
                                             6%                        82%


                                                           30
        Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 32 of 41
TURBO




                                       31
                    Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 33 of 41
       APOLO II

       ü 1Q’17-2Q’17      ü Ps. $10 - 11 bn           ü 18 Properties     ü NOI Ps. $1,012 mm
§ FUNO has reached an agreement to acquire this portfolio from Mexico Retail Properties (MRP)
    ü 11 stabilized shopping centers, 2 properties currently under stabilization and 3 under construction
    ü The beforementioned properties have 242,856 sqm of GLA, an occupancy of 93.2% and an
       expected NOI of Ps. $553 million
    ü The portfolio also includes two land plots for imminent development which will generate approx.
       Ps. $459 million of additional NOI
§ This acquisition will be financed with 15% debt assumption and 85% cash




                                                   32
               Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 34 of 41
 FRIMAX

  ü 4Q’17-2Q’20 ü Ps. $ 6,271 mm ü 3 Industrial Parks ü NOI Ps. $540 mm
§ FUNO has reached an agreement to acquire this industrial portfolio

§ This portfolio will have a GLA of approximately 623,000 sqm:

     ü One stabilized industrial park with a GLA of 219,000 sqm, an occupancy of 93% and
        is generating an NOI of Ps. $160 million

     ü One built-to-suit park under development with a GLA of approximately 34,000 sqm

     ü One industrial park project which will add a GLA of approximately 370,000 sqm



§ The acquisition will be paid with 10% cash and the rest with CBFIs, for each partial
   delivery of finished and leased GLA, starting 4Q’17




                                              33
         Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 35 of 41
FRIMAX

                                                                     FRIMAX




          FRIMAX



                                        34
        Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 36 of 41
FRIMAX - TEPOTZOTLAN

                                                                        NAFTA Highway




                                       35
                              Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 37 of 41
  MIDTOWN JALISCO

   ü 4Q’16                             ü Ps. $4,808 mm                   ü Mixed use        ü NOI Ps. $492 mm
§ FUNO has signed an agreement to acquire a mixed use project currently under
   development in Guadalajara, Jalisco, expected to be delivered by 4Q’18

§ The total value of the land and development is estimated to be Ps. $4,808 mm

§ The acquisition price will be paid with 50% CBFIs and 50% cash

§ The remaining amount will be paid as the construction progresses


                      GLA 105,000 sqm (1)                                              NOI Ps. $492 mm

                 Retail                                   Office                  Retail             Office
                 70%                                      30%                     71%                29%




 (1)   Does not include a Hotel to be developed within the project.
                                                                      36
                      Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 38 of 41
 ACQUISITION PIPELINE

ü 4Q’16 – 2Q’20              ü Ps. $36,179 mm              ü Diversified           ü NOI Ps. $3,374 mm
                                                   Total
                                                Investment        GLA               NOI
        Portfolio             Segment            (Ps.$ mm)        (sqm)           (Ps.$ mm)  Properties
Turbo                           Mixed                14,300        506,832             1,330          18
Apolo II                        Retail               10,800        362,781             1,012          18
Frimax                        Industrial              6,271        622,638               540           3
Midtown Jalisco                 Mixed                 4,808        105,000               492           1
Total                                                36,179      1,597,251             3,374          40


               GLA 1,597,251 sqm                                     NOI Ps. $3,374 mm
                                                                     Industrial
         Industrial                                                     7%
           50%                         Retail
                                       46%                        Office
                                                                  21%

                                                                                              Retail
                                                                                              72%

                                   Office
                                    4%

                                                      37
Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 39 of 41




                                                                    CEO REMARKS
                                                                     B Y A N D R É E L MA N N




                               38
                                                                         Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 40 of 41
                                              VALUE CREATION WITH FUNO

                                                       Value Creation                                                              Total Amount

                                                       Equity raised                                                                          67,357
                                                       Equity issued for Acquisitions                                                         37,130
                                                       Debt raised                                                                            61,893
                                                                                                                                             166,380
                                                                                                                                               vs
                                                                                                  Total Asset value 3Q'16 (1)                194,388
                                                            Net Value Created                                                           28,008



                                                            Total FFO generated since IPO                                                 18,910
                                                            Net Value Created to-date                                           Ps. $ 8.75 / CBFI


                                                        Value created is 50% greater than the cash flow generated

(1)   Assumes that properties under development revalue at fair value upon starting operations.
                                                                                                          39
                    Case 1:24-mc-00016-MKV Document 7-12 Filed 01/10/24 Page 41 of 41
      WORLD-CLASS SUSTAINABILITY STRATEGY
FUNO’s large scale and footprint comes with an even larger responsibility towards sustainiability:


            ü FUNO   joined the United Nations’ Global Compact
               ü Best international practice    (Human Rights, Labor Practices and
                     Environment)



            ü Eco-efficient properties and developments
                 ü Reduce our overall building energy intensity
                 ü Efficient water consumption
                 ü Monitoring Waste and emissions



            ü Code of Ethics & whistleblowing mechanism
                  ü Operated by a third party




                     Overall improvement and positive impact
                       on people, communities and cities

                                                    40
